    Case 2:07-cr-00408-LMA-DEK            Document 183        Filed 03/24/11     Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                                           No. 07-408

DAMON BURKHALTER                                                             SECTION “I”

                                   ORDER AND REASONS

       Before this Court is the motion of defendant, Damon Burkhalter (“Burkhalter”), to

vacate, set aside, or correct his conviction and/or sentence pursuant to 28 U.S.C. § 2255. For the

following reasons, Burkhalter’s motion is DENIED and DISMISSED WITH PREJUDICE.

                                        BACKGROUND

       On March 28, 2008, the government charged Burkhalter in a two-count superseding bill

of information. Count one charged Burkhalter with conspiring to distribute and conspiring to

possess with the intent to distribute 100 grams or more of heroin, a schedule I drug controlled

substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 846. Count two charged

Burkhalter with having a previous drug conviction pursuant to 28 U.S.C. § 851.

       On April 10, 2008, Burkhalter pled guilty to count one of the superseding bill of

information and affirmed that he had been previously convicted as alleged in count two of the

superseding bill of information. On July 17, 2008, this Court sentenced Burkhalter to a term of

262 months imprisonment.

       On July 25, 2008, Burkhalter filed a timely notice of appeal. On January 7, 2010, the

United States Court of Appeals for the Fifth Circuit dismissed Burkhalter’s appeal as frivolous.

       On March 16, 2011, Burkhalter timely filed the present motion to vacate, set aside, or

correct his conviction and/or sentence pursuant to 28 U.S.C. § 2255. Pursuant to Rule 4(b) of the



                                                1
       Case 2:07-cr-00408-LMA-DEK                   Document 183            Filed 03/24/11         Page 2 of 7




Federal Rules Governing Section 2255 Proceedings for the United States District Courts, the

Court did not order the government to respond to Burkhalter’s motion.1

            In his § 2255 motion, Burkhalter makes two arguments. First, Burkhalter alleges that,

“[c]ounsel provided ineffective assistance, leading to the entering of an invalid plea.”2 Second,

Burkhalter asserts that, “[c]ounsel was ineffective at sentencing for failing to request a

reasonable senence [sic] under 3553.”3 Burkhalter does not allege any facts in connection with

either of his claims.

                                              LAW AND ANALYSIS

I. OVERVIEW OF § 2255

            Section 2255(a) provides a prisoner in custody with four grounds upon which relief may

be granted: (1) "that the sentence was imposed in violation of the Constitution or laws of the

United States"; (2) "that the court was without jurisdiction to impose such sentence"; (3) "that the

sentence was in excess of the maximum authorized by law"; or (4) that the sentence "is otherwise

subject to collateral attack." 28 U.S.C. § 2255(a) (2008); see Hill v. United States, 368 U.S. 424,

426-27, 82 S. Ct. 468, 470, 7 L. Ed. 2d 417 (1962). Section 2255 is designed to remedy

constitutional errors and other injuries that could not be brought on direct appeal and would

result in injustice if left unaddressed. See United States v. Williamson, 183 F.3d 458, 462 (5th

Cir. 1999). “Relief under § 2255 is reserved for transgressions of constitutional rights and for a


1
    Rule 4(b) states that:

                 The judge who receives the [§ 2255] motion must promptly examine it. If it plainly
                 appears from the motion, any attached exhibits, and the record of prior proceedings that
                 the moving party is not entitled to relief, the judge must dismiss the motion and direct
                 the clerk to notify the moving party. If the motion is not dismissed, the judge must
                 order the United States attorney to file an answer, motion, or other response within a
                 fixed time, or to take other action the judge may order.
2
    R. Doc. No. 182, pg. 4.
3
    Id. at 5.

                                                            2
    Case 2:07-cr-00408-LMA-DEK              Document 183         Filed 03/24/11      Page 3 of 7




narrow range of injuries that could not have been raised on direct appeal and would, if condoned,

result in a complete miscarriage of justice.” United States v. Segler, 37 F.3d 1131, 1133 (5th Cir.

1994) (quoting United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (per curiam)). A

federal prisoner cannot assert a non-constitutional claim on collateral attack if he did not raise it

on appeal. Davis v. United States, 417 U.S. 333, 345-46 n.15 (1974). Unlike direct appeals,

motions under § 2255 reach only errors of constitutional or jurisdictional magnitude. United

States v. Capua, 656 F.2d 1033, 1037 (5th Cir. 1981).

       "[A] proceeding under Section 2255 is an independent and collateral inquiry into the

validity of the conviction...." United States v. Hayman, 342 U.S. 205, 222-23, 72 S. Ct. 263, 274,

96 L. Ed. 232 (1952). If the court determines that the prisoner is entitled to relief "[it] shall

vacate and set the judgment aside and shall discharge the prisoner or resentence him or grant a

new trial or correct the sentence as may appear appropriate." 28 U.S.C. § 2255(b). "The § 2255

remedy is broad and flexible, and entrusts to the courts the power to fashion an appropriate

remedy." United States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992) (citing Andrews v. United

States, 373 U.S. 334, 339, 83 S. Ct. 1236, 1239, 10 L. Ed. 2d 383 (1963)). Pursuant to § 2255,

the Court must grant defendant a hearing to determine the issues and make findings of fact and

conclusions of law unless "the motion, files, and records of the case conclusively show that the

prisoner is entitled to no relief." United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992).

       A federal prisoner is barred from asserting non-constitutional claims on collateral attack

if the claims were not raised on direct appeal. Davis v. United States, 417 U.S. 333, 345-46 n.15

(1974). Federal habeas review under Section 2255 only reaches errors of constitutional or

jurisdictional magnitude. United States v. Capua, 656 F.2d 1033, 1037 (5th Cir. 1981).




                                                   3
    Case 2:07-cr-00408-LMA-DEK            Document 183         Filed 03/24/11      Page 4 of 7




II. INEFFECTIVE ASSISTANCE OF COUNSEL

       The standard for judging the performance of counsel was established by the United States

Supreme Court in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674

(1984). In Strickland, the Court established a two-part test for evaluating claims of ineffective

assistance of counsel that requires the petitioner to prove (1) deficient performance and (2)

resulting prejudice. Strickland, 466 U.S. at 697. Deficient performance is established by

“show[ing] that counsel's representation fell below an objective standard of reasonableness.” Id.

at 688. To establish prejudice, “[t]he defendant must show that there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the proceeding would have been

different.” Id. at 694; see also United States v. Kimler, 167 F.3d 889, 893 (5th Cir. 1999). A

“reasonable probability” is a probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694.

       The Supreme Court pointed out that "[t]here are countless ways to provide effective

assistance in any given case. Even the best criminal defense attorneys would not defend a

particular client in the same way.” Strickland, 466 U.S. at 689. Under Fifth Circuit

jurisprudence, a reviewing court must strongly presume that counsel exercised its reasonable

professional judgment. Lockhart v. McCotter, 782 F.2d 1275, 1279 (5th Cir. 1986) (internal

citation omitted). Further, “second-guessing is not the test for ineffective assistance of counsel.”

King v. Lynaugh, 868 F.2d 1400, 1405 (5th Cir. 1989). An attorney’s strategic choices, usually

based on information supplied by the defendant and gathered from a thorough investigation of

the relevant law and facts, are virtually unchallengeable. Strickland, 466 U.S. at 691. “It is not

enough to show that some, or even most, defense lawyers would have handled the case

differently." Green v.Lynaugh, 868 F.2d 176, 178 (5th Cir.1989). Any failure on the part of the



                                                 4
    Case 2:07-cr-00408-LMA-DEK             Document 183         Filed 03/24/11      Page 5 of 7




attorney must be specifically pleaded and proven. Knighten v. Maggio,740 F.2d 1344, 1349 (5th

Cir. 1984); see also Ross v. Estelle, 694 F.2d 1008, 1012 (5th Cir. 1983) (“Mere conclusory

allegations do not raise a constitutional issue in a habeas proceeding.”). Further, an attorney’s

failure to raise a meritless argument cannot serve as the basis of a successful ineffective

assistance of claim because the result of the proceeding would not have been different had the

attorney raised the issue. Kimler, 167 F.3d at 892.

       On federal habeas review, scrutiny of counsel's performance “must be highly

deferential,” and the Court will ‘indulge a strong presumption that strategic or tactical decisions

made after an adequate investigation fall within the wide range of objectively reasonable

professional assistance.” Moore v. Johnson, 194 F.3d 586, 591 (5th Cir. 1999) (citing Strickland,

466 U.S. at 689). In assessing counsel's performance, a federal habeas court must make every

effort to eliminate the distorting effects of hindsight, to reconstruct the circumstances of

counsel's challenged conduct, and to evaluate the conduct from counsel's perspective at the time

of trial. Strickland, 466 U.S. at 689; Neal v. Puckett, 286 F.3d 230, 236-37 (5th Cir. 2002). “A

court must indulge a ‘strong presumption’ that counsel's conduct falls within the wide range of

reasonable professional assistance because it is all too easy to conclude that a particular act or

omission of counsel was unreasonable in the harsh light of hindsight.” Bell v. Cone, 535 U.S.

685, 701 (2002) (citing Strickland, 466 U.S. at 689). Federal habeas courts presume that trial

strategy is objectively reasonable unless clearly proven otherwise. Strickland, 466 U.S. at 689.

       The second prong of the Strickland test looks to the prejudice caused by counsel's

deficient performance. This requires “a reasonable probability that, absent the errors, the

factfinder would have had a reasonable doubt respecting guilt.” United States v. Mullins, 315

F.3d 449, 456 (5th Cir. 2002) (quoting Strickland, 466 U.S. at 687). “[T]he defendant must show



                                                  5
       Case 2:07-cr-00408-LMA-DEK            Document 183        Filed 03/24/11      Page 6 of 7




that counsel's errors were prejudicial and deprived defendant of a ‘fair trial, a trial whose result is

reliable.’ ” United States v. Baptiste, No. 98-207, 2007 U.S. Dist. LEXIS 21388, at *11 n. 6,

2007 WL 925894 (E.D .La. Mar. 26, 2007) (Engelhardt, J.) (quoting Strickland, 466 U.S. at

687). “This burden generally is met by showing that the outcome of the proceeding would have

been different but for counsel's errors.” Id.

           A defendant must satisfy both prongs of the Strickland test in order to be successful on an

ineffective assistance claim. See Strickland, 466 U.S. at 697. There is no reason for a court

deciding an ineffective assistance of counsel claim to address these prongs in any particular

order. Id. If it is possible to dispose of an ineffective assistance of counsel claim without

addressing both prongs “that course should be followed.” Id.

III. BURKHALTER’S INEFFECTIVE ASSISTANCE OF COUNSEL CLAIMS

           Burkhalter has failed to demonstrate that his lawyer’s alleged errors fell below an

objective standard of reasonableness or that the alleged errors actually prejudiced him. As

stated, Burkhalter’s barebones § 2255 motion simply alleges that his “[c]ounsel provided

ineffective assistance, leading to the entering of an invalid plea” and that “[c]ounsel was

ineffective at sentencing for failing to request a reasonable senence [sic] under 3553.”4 Although

the standard § 2255 motion form that Burkhalter submitted to the Court instructed him to “state

the specific facts that support [his] claim,” Burkhalter alleged no facts whatsoever with respect to

his ineffective assistance of counsel claims. Further, Burkhalter did not file a supporting

memorandum in connection with his § 2255 motion. Accordingly, there are no facts and no

evidence before this Court upon which Burkhalter’s claims can reasonably be assessed.

           As stated, mere conclusory allegations do not raise a constitutional issue in a habeas

proceeding. Ross v. Estelle, 694 F.2d 1008, 1012 (5th Cir. 1983). Accordingly, Burkhalter’s
4
    R. Doc. No. 182, pg. 5.

                                                    6
    Case 2:07-cr-00408-LMA-DEK            Document 183        Filed 03/24/11      Page 7 of 7




conclusory assertions that he received ineffective assistance of counsel cannot overcome the

strong presumption “that trial counsel rendered adequate assistance and that the challenged

conduct was the product of reasoned trial strategy.” Pondexter v. Quarterman, 537 F.3d 511,

519 (5th Cir. 2008) (internal quotation marks and citation omitted); see also United States v.

Bullard, Criminal No. 06-50163-01, 2008 WL 4693391, at *2 (W.D. La. Oct. 22, 2008).

                                         CONCLUSION

       Accordingly, IT IS ORDERED that Burkhalter’s motion to vacate, set aside, or correct

his sentence and/or conviction pursuant to 28 U.S.C. § 2255 is DENIED and that Burkhalter’s

motion is DISMISSED WITH PREJUDICE.

                                        23rd 2011.
       New Orleans, Louisiana, March ________,



                                                           LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE




                                                7
